     Case 3:14-cv-01106-D Document 57 Filed 11/30/17               Page 1 of 7 PageID 491



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SECURITIES AND EXCHANGE                               §
COMMISSION,                                           §
                                                      §
               Plaintiff,                             §
                                                      §
v.                                                    §   Case No.: 3:14-CV-1106-D
                                                      §
JOSHUA D. SPIVEY, et al.,                             §
                                                      §
               Defendants.                            §

                    FINAL JUDGMENT AS TO DEFENDANTS
         JOSHUA D. SPIVEY, STEVEN J. LITTLE, AND PATRICK J. BOOTHS

        The July 26, 2017 motion of plaintiff Securities and Exchange Commission for

disgorgement, prejudgment interest, and civil penalties as to defendants Joshua D. Spivey,

Steven J. Little, and Patrick J. Booths (“Defendants”) is granted as follows, and this final

judgment is entered.

        The Securities and Exchange Commission having filed a Complaint, and Defendants

having entered a general appearance; consented to the Court’s jurisdiction over Defendants and

the subject matter of this action; consented to entry of this Final Judgment without admitting or

denying the allegations of the Complaint (except as to jurisdiction and except as otherwise

provided herein in paragraph VI); waived findings of fact and conclusions of law; and waived

any right to appeal from this Final Judgment:

                                                 I.

        IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant Patrick J.

Booths is permanently restrained and enjoined from violating, directly or indirectly, Section

10(b) of the Securities Exchange Act of 1934 (the “Exchange Act”) [15 U.S.C. § 78j(b)] and
   Case 3:14-cv-01106-D Document 57 Filed 11/30/17                  Page 2 of 7 PageID 492



Rule 10b-5 promulgated thereunder [17 C.F.R. § 240.10b-5], by using any means or

instrumentality of interstate commerce, or of the mails, or of any facility of any national

securities exchange, in connection with the purchase or sale of any security:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to make any untrue statement of a material fact or to omit to state a material fact

               necessary in order to make the statements made, in the light of the circumstances

               under which they were made, not misleading; or

       (c)     to engage in any act, practice, or course of business which operates or would

               operate as a fraud or deceit upon any person.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendant’s

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendant or with anyone described in (a).

                                                 II.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants Spivey, Little, and Booths are permanently restrained and enjoined from violating

Section 17(a) of the Securities Act of 1933 (the “Securities Act”) [15 U.S.C. § 77q(a)] in the

offer or sale of any security by the use of any means or instruments of transportation or

communication in interstate commerce or by use of the mails, directly or indirectly:

       (a)     to employ any device, scheme, or artifice to defraud;

       (b)     to obtain money or property by means of any untrue statement of a material fact

               or any omission of a material fact necessary in order to make the statements

                                                 2
   Case 3:14-cv-01106-D Document 57 Filed 11/30/17                  Page 3 of 7 PageID 493



               made, in light of the circumstances under which they were made, not misleading;

               or

       (c)     to engage in any transaction, practice, or course of business which operates or

               would operate as a fraud or deceit upon the purchaser.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                III.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants Spivey, Little, and Booths are permanently restrained and enjoined from violating

Section 5 of the Securities Act [15 U.S.C. § 77e] by, directly or indirectly, in the absence of any

applicable exemption:

       (a)     Unless a registration statement is in effect as to a security, making use of any

               means or instruments of transportation or communication in interstate commerce

               or of the mails to sell such security through the use or medium of any prospectus

               or otherwise;

       (b)     Unless a registration statement is in effect as to a security, carrying or causing to

               be carried through the mails or in interstate commerce, by any means or

               instruments of transportation, any such security for the purpose of sale or for

               delivery after sale; or

       (c)     Making use of any means or instruments of transportation or communication in

                                                 3
   Case 3:14-cv-01106-D Document 57 Filed 11/30/17                   Page 4 of 7 PageID 494



               interstate commerce or of the mails to offer to sell or offer to buy through the use

               or medium of any prospectus or otherwise any security, unless a registration

               statement has been filed with the Commission as to such security, or while the

               registration statement is the subject of a refusal order or stop order or (prior to the

               effective date of the registration statement) any public proceeding or examination

               under Section 8 of the Securities Act [15 U.S.C. § 77h].

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                 IV.

       IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

Defendants Spivey, Little, and Booths are permanently restrained and enjoined from violating

Section 15(a) of the Securities Exchange Act of 1934 [15 U.S.C. § 78o(a)] by, directly or

indirectly, making use of the mails or means or instrumentalities of interstate commerce to effect

transactions in, or to induce or attempt to induce, the purse or sale of securities, without being

registered as a broker or dealer, or being associated with a registered broker or dealer.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following who

receive actual notice of this Final Judgment by personal service or otherwise: (a) Defendants’

officers, agents, servants, employees, and attorneys; and (b) other persons in active concert or

participation with Defendants or with anyone described in (a).

                                                  4
   Case 3:14-cv-01106-D Document 57 Filed 11/30/17                   Page 5 of 7 PageID 495



                                                 V.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant Joshua D.

Spivey is liable for disgorgement of $925,436.08, representing profits gained as a result of the

conduct alleged in the Complaint, together with prejudgment interest thereon through July 31,

2017 in the amount of $110,578.97, together with prejudgment interest from August 1, 2017

through the date of judgment calculated based on the rate of interest used by the Internal Revenue

Service for the underpayment of federal income tax as set forth in 26 U.S.C. § 6621(a)(2), and a civil

penalty in the amount of $925,436.08 pursuant to Section 20(d) of the Securities Act and Section

21(d)(3) of the Exchange Act. Defendant shall satisfy this obligation by paying the total of the

foregoing sums to the Securities and Exchange Commission within 14 days after entry of this

Final Judgment.

       Defendant Steven J. Little is liable for disgorgement of $232,600.00, representing profits

gained as a result of the conduct alleged in the Complaint, together with prejudgment interest

thereon through July 31, 2017 in the amount of $27,793.02, together with prejudgment interest

from August 1, 2017 through the date of judgment calculated based on the rate of interest used by

the Internal Revenue Service for the underpayment of federal income tax as set forth in 26 U.S.C. §

6621(a)(2), and a civil penalty in the amount of $232,600.00 pursuant to Section 20(d) of the

Securities Act and Section 21(d)(3) of the Exchange Act. Defendant shall satisfy this obligation

by paying the total of the foregoing sums to the Securities and Exchange Commission within 14

days after entry of this Final Judgment.

       Defendant Patrick J. Booths is liable for disgorgement of $128,745.15, representing

profits gained as a result of the conduct alleged in the Complaint, together with prejudgment

interest thereon through July 31, 2017 in the amount of $15,383.55, together with prejudgment

                                                  5
   Case 3:14-cv-01106-D Document 57 Filed 11/30/17                   Page 6 of 7 PageID 496



interest from August 1, 2017 through the date of judgment calculated based on the rate of interest

used by the Internal Revenue Service for the underpayment of federal income tax as set forth in 26

U.S.C. § 6621(a)(2), and a civil penalty in the amount of $150,000.00 pursuant to Section 20(d)

of the Securities Act and Section 21(d)(3) of the Exchange Act. Defendant shall satisfy this

obligation by paying the total of the foregoing sums to the Securities and Exchange Commission

within 14 days after entry of this Final Judgment.

        Defendants may transmit payment electronically to the Commission, which will provide

detailed ACH transfer/Fedwire instructions upon request. Payment may also be made directly

from a bank account via Pay.gov through the SEC website at

http://www.sec.gov/about/offices/ofm.htm. Defendants may also pay by certified check, bank

cashier’s check, or United States postal money order payable to the Securities and Exchange

Commission, which shall be delivered or mailed to

       Enterprise Services Center
       Accounts Receivable Branch
       6500 South MacArthur Boulevard
       Oklahoma City, OK 73169

and shall be accompanied by a letter identifying the case title, civil action number, and name of

this Court; including Defendant’s name as a defendant in this action; and specifying that

payment is made pursuant to this Final Judgment.

       Defendants shall simultaneously transmit photocopies of evidence of payment and case

identifying information to the Commission’s counsel in this action. By making this payment,

Defendants relinquish all legal and equitable right, title, and interest in such funds and no part of

the funds shall be returned to Defendants. The Commission shall send the funds paid pursuant to

this Final Judgment to the United States Treasury.


                                                  6
   Case 3:14-cv-01106-D Document 57 Filed 11/30/17                  Page 7 of 7 PageID 497



       The Commission may enforce the Court’s judgment for disgorgement and prejudgment

interest by moving for civil contempt (and/or through other collection procedures authorized by

law) at any time after 14 days following entry of this Final Judgment. Defendants shall pay post

judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

                                                VI.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, solely for purposes of

exceptions to discharge set forth in Section 523 of the Bankruptcy Code, 11 U.S.C. §523, the

allegations in the complaint are true and admitted by Defendants, and further, any debt for

disgorgement, prejudgment interest, civil penalty or other amounts due by Defendants under this

Final Judgment or any other judgment, order, consent order, decree or settlement agreement

entered in connection with this proceeding, is a debt for the violation by Defendants of the

federal securities laws or any regulation or order issued under such laws, as set forth in Section

523(a)(19) of the Bankruptcy Code, 11 U.S.C. §523(a)(19).

                                                VII.

       IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall retain

jurisdiction of this matter for the purposes of enforcing the terms of this Final Judgment.


       Dated: November 30, 2017.


                                              ____________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE




                                                 7
